
686 S.E.2d 903 (2009)
STATE of North Carolina
v.
Wilfredo Jamal RIVERA, III.
No. 407P09.
Supreme Court of North Carolina.
November 5, 2009.
Douglas W. Corkhill, Assistant Attorney General, for State.
Wilfredo Jamal Rivera, III, pro se.

ORDER
Upon consideration of the petition filed on the 2nd of October 2009 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 5th of November 2009."
